                                                                                                                 FORM 1
                                                Case 17-34386-sgj7   Doc 445
                                                                 INDIVIDUAL    Filed
                                                                            ESTATE   07/28/22
                                                                                   PROPERTY     Entered
                                                                                             RECORD     07/28/22 13:36:46
                                                                                                    AND REPORT                                                                     Desc Main                             Page:       1
                                                                              Document      Page 1 of 2
                                                                                   ASSET CASES
Case No:             17-34386           SGJ   Judge: STACEY G. JERNIGAN                                                                        Trustee Name:                       ROBERT YAQUINTO, JR., TRUSTEE
Case Name:           TEXAS E&P OPERATING, INC.                                                                                                 Date Filed (f) or Converted (c):    07/27/18 (c)
                                                                                                                                               341(a) Meeting Date:                09/04/18
For Period Ending: 07/28/22                                                                                                                    Claims Bar Date:                    05/16/19



                                          1                                                  2                            3                          4                        5                                    6
                                                                                                               Estimated Net Value
                                                                                       Petition/          (Value Determined by Trustee,      Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                              Asset Description                                       Unscheduled            Less Liens, Exemptions,            Abandoned                Received by                Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                              Values                  and Other Costs)            OA=554(a) Abandon             the Estate

 1. Non Op Revenue Interests                                                                      0.00                        630,000.00                                          617,381.12                          12,618.88
     *EXACT VALUE UNKNOWN. VALUE FOR UST PURPOSES
 2. Balance of DIP Frost Bank Revenue Acct -Chapter 11                                            0.00                         50,785.38                                           50,785.38                     FA
 3. Balance of DIP Frost Bank Operating Acct Chapter11                                            0.00                        148,586.16                                          148,586.16                     FA
 4. Sale of Gillis English Bayou Field, LA - Chapter11                                            0.00                         50,000.00                                          481,000.00                     FA
 5. Enetergy Louisiana, LLC Credit Refund                                                         0.00                          1,737.80                                            1,737.80                     FA
 6. Post-Petition Interest Deposits -                                                             0.00                               0.00                                               0.00                     FA
     Accts do not bear interest
 7. Adversary Settlement - Adv 18-3061 (u)                                                        0.00                         89,038.45                                           89,038.45                     FA
 8. INSURANCE REFUND FROM USI SOUTHWEST (u)                                                       0.00                          4,618.00                                           10,684.00                     FA
     REFUND
 9. Possible Avoidance Actions (u)                                                                0.00                         75,000.00                                           66,000.00                           9,000.00
     * preference/avoidance claims value is estimated with settlement
     negotiations ongoing. value could be more but currently unknown.
 10. TRANSFER IN FROM FORMER CH 7 TRUSTEE (u)                                                     0.00                        656,522.27                                          656,522.27                     FA
 11. RLI BOND INSURANCE REFUND (u)                                                                0.00                        612,000.00                                          612,000.00                     FA
 12. PROCEEDS FROM SALE OF WELL TUBING/RODS (u)                                                   0.00                         29,825.04                                          115,715.80                     FA

                                                                                                                                                                                                  Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                               $0.00                     $2,348,113.10                                     $2,849,450.98                         $21,618.88
                                                                                                                                                                                                  (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   TRIAL IN CBS COMPLETED AND AWAITING RULING. TRIAL SETTING AGAINST MARK PLUMMER SET FOR DECEMBER, 2022. KRAGE & JANVEY
   TRIAL ABATED TO AUGUST 31, 2022.. ESTIMATED DATE OF CLOSING IS 05/31/2023.


   Initial Projected Date of Final Report (TFR): 03/01/20           Current Projected Date of Final Report (TFR): 05/31/23




LFORM1                                                                                                                                                                                                                            Ver: 22.06b
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LFORM1                                                                                                                                                      Ver: 22.06b
